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                                                                   USDC SDNY
UNITED STATES DISTRICT COURT                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                      ELECTRONICALLY FILED
UNITED STATES OF AMERICA                                           DOC #: _________________
                                                                   DATE FILED: 3/3/2021
               -against-
                                                                           19 Cr. 830 (AT)
TOVA NOEL and MICHAEL THOMAS,
                                                                               ORDER
                          Defendants.
ANALISA TORRES, District Judge:

         The trial scheduled for June 14, 2021, is ADJOURNED sine die. The Court, utilizing
the procedures within this District governing the scheduling of jury trials during the COVID-19
pandemic, will seek to schedule a jury trial for the third calendar quarter of 2021. By April 15,
2021, the parties shall submit blackout dates for trial.

       SO ORDERED.

Dated: March 3, 2021
       New York, New York
